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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:16-CR-00093-LJO-SKO

12                                     Plaintiff,        FINAL ORDER OF FORFEITURE

13             v.

14    VERONICA ROSALES-CAPITAINE,
      FRANCISCO JAVIER HIDALGO-
15    FLORES, and
      LIZET AMAIRANI RAMIREZ-
16    ZAZUETA,

17                           Defendants.

18

19             WHEREAS, on September 29, 2016, the Court entered a Preliminary Order of Forfeiture,

20    forfeiting to the United States all right, title, and interest of defendants Veronica Rosales-

21    Capitaine, Francisco Javier Hidalgo-Flores, and Lizet Amairani Ramirez-Zazueta in the following

22    property:

23             Items seized pursuant to search warrant 1:16-SW-00152-SAB from 921 N. Peach, Apt.
               115, Fresno, California:
24
                        a. Galaxy cellular telephone,
25
                        b. Apple iPhone, and
26                      c. Miscellaneous documents.

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     FINAL ORDER OF FORFEITURE                          1
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 1             Items seized pursuant to search warrant 1:16-SW-00152-SAB from Silver Nissan Altima:

 2                      d. LG cellular telephone, and
                        e. Miscellaneous documents.
 3
               Items seized pursuant to search warrant 1:16-SW-00156-SKO from 4730 E. Butler Ave.,
 4             Apt. 140, Fresno, California:
 5                      f. LG cellular telephone S/N 601CYRN885670,
                        g. LG cellular telephone S/N 601CYMR871067,
 6
                        h. Epson XP410 printer S/N S5ZP677269,
 7                      i. Dell Inspiron Laptop S/N NM44ZA20,
                        j. Two (2) computer peripheral thumb-drives/memory sticks, and
 8                      k. Miscellaneous documents.

 9             AND WHEREAS, beginning on September 30, 2016, for at least 30 consecutive days, the

10    United States published notice of the Court’s Order of Forfeiture on the official internet

11    government forfeiture site www.forfeiture.gov. Said published notice advised all third parties of

12    their right to petition the Court within sixty (60) days from the first day of publication of the

13    notice for a hearing to adjudicate the validity of their alleged legal interest in the forfeited

14    property;

15             AND WHEREAS, the Court has been advised that no third party has filed a claim to the

16    subject property, and the time for any person or entity to file a claim has expired.

17             Accordingly, it is hereby ORDERED and ADJUDGED:

18             1.       A Final Order of Forfeiture is hereby entered forfeiting to the United States of

19    America all right, title, and interest in the above-listed property pursuant to 18 U.S.C. §§

20    982(a)(6), 981(a)(1)(C), 982(a)(2)(B), 1028(b)(5), and 28 U.S.C. § 2461(c), to be disposed of

21    according to law, including all right, title, and interest of Veronica Rosales-Capitaine, Francisco

22    Javier Hidalgo-Flores, and Lizet Amairani Ramirez-Zazueta.

23             2.       All right, title, and interest in the above-listed property shall vest solely in the

24    name of the United States of America.

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     FINAL ORDER OF FORFEITURE                              2
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 1             3.       The Department of Homeland Security, Customs and Border Protection shall

 2    maintain custody of and control over the subject property until it is disposed of according to

 3    law.

 4
      IT IS SO ORDERED.
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 6        Dated:       March 15, 2017                       /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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     FINAL ORDER OF FORFEITURE                         3
